    Case 4:21-cv-00335-RGE-SBJ Document 24-2 Filed 03/28/22 Page 1 of 3




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF IOWA
                                CENTRAL DIVISION

JOAN BURKE, individually and on behalf
of all others similarly situated,           Case No. 4:21-cv-00335
                                            Judge Rebecca Goodgame Ebinger
                               Plaintiff,   Magistrate Judge Stephen B. Jackson, Jr.
       v.
                                            DECLARATION OF JOSEPH D.
MEREDITH CORPORATION,                       MORNIN IN SUPPORT OF DEFENDANT
                                            MEREDITH CORPORATION’S
                              Defendant.    MOTION TO DISMISS


                                            Oral Argument Requested
ADELE HETZEL, individually and on
behalf of all others similarly situated,    Case No. 4:21-cv-00341

                               Plaintiff,
       v.

MEREDITH CORPORATION,

                              Defendant.


BELINDA POWERS, individually and on
behalf of all others similarly situated,    Case No. 4:21-cv-00350

                               Plaintiff,
       v.

MEREDITH CORPORATION,

                              Defendant.
    Case 4:21-cv-00335-RGE-SBJ Document 24-2 Filed 03/28/22 Page 2 of 3




SHARON MCKINNEY, individually
and on behalf of all others similarly        Case No. 4:21-cv-00360
situated,
                               Plaintiff,
        v.

MEREDITH CORPORATION,

                               Defendant.


CANDYCE MARTO-MAEDEL,
individually and on behalf of all others     Case No. 4:21-cv-00366
similarly situated,
                               Plaintiff,
        v.

MEREDITH CORPORATION,

                               Defendant.


NORMA GOLDBERGER, individually
and on behalf of all others similarly        Case No. 4:21-cv-00367
situated,
                               Plaintiff,
        v.

MEREDITH CORPORATION,

                               Defendant.


JULIE BEACH, individually and on behalf of
all others similarly situated,               Case No. 4:21-cv-00376

                               Plaintiff,
       v.

MEREDITH CORPORATION,

                               Defendant.
     Case 4:21-cv-00335-RGE-SBJ Document 24-2 Filed 03/28/22 Page 3 of 3




       I, Joseph D. Mornin, declare:

       1.      I am an attorney at the law firm of Cooley LLP and counsel for Defendant

Meredith Corporation. I submit this declaration based on personal knowledge and following

reasonable investigation. If called as a witness, I could testify competently to the truth of each

statement.

       2.      Exhibit A is a true and accurate certified translation of P.R. Law No. 139-2011

(Jul. 13, 2011) (codified at P.R. Laws Ann. Title 32, § 3154), from Spanish to English, which

includes the sworn and notarized certificate of Jacqueline Yorke of TransPerfect Global, Inc., a

company in New York that specializes in translation services.

       3.      Exhibit B is a true and accurate certified translation of Ayala Otero v. Rivera

Nevis, 2016 WL 5369286 (P.R. Ct. App. Jun. 27, 2016), from Spanish to English, which includes

the sworn and notarized certificate of Jacqueline Yorke of TransPerfect Global, Inc.

       4.      Exhibit C is a true and accurate certified translation of Luis Bonilla Medina v.

New Progressive Party, 140 D.P.R. 294 (P.R. 1996), from Spanish to English, which includes

the sworn and notarized certificate of Jacqueline Yorke of TransPerfect Global, Inc.

       I declare under penalty of perjury that the foregoing is true and correct. Executed this

28th day of March 2022 in Berkeley, California.


                                                              /s/ Joseph D. Mornin
                                                              Joseph D. Mornin
                                                              Cooley LLP
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                                                              20th Floor
                                                              San Francisco, CA 94111-4004
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